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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
___________________________________________

NATALIYA PINYUK on behalf of herself and
all other similarly situated consumers

                             Plaintiff,

             -against-

THE CBE GROUP, INC.

                        Defendant.
___________________________________________

                              CLASS ACTION COMPLAINT

                                          Introduction

1.    Plaintiff, Nataliya Pinyuk, brings this action against The CBE Group, Inc. for violations

      of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”). The

      FDCPA prohibits debt collectors from engaging in abusive, deceptive and unfair

      collection practices while attempting to collect on debts.

                                             Parties

2.    Plaintiff is a citizen of the State of New York who resides within this District.

3.    Plaintiff is a consumer as that term is defined by Section 1692(a)(3) of the FDCPA, in

      that the alleged debt that Defendant sought to collect from Plaintiff a consumer debt.

4.    Upon information and belief, Defendant's principal place of business is located in Cedar

      Falls, Iowa.

5.    Defendant is regularly engaged, for profit, in the collection of debts allegedly owed by

      consumers.




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6.    Defendant is a “debt collector” as that term is defined by the FDCPA, 15 U.S.C. §

      1692(a)(6).

                                     Jurisdiction and Venue

7.    This Court has federal question jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

      1331.

8.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), as the acts and

      transactions that give rise to this action occurred, in substantial part, in this district.

                          Allegations Particular to Nataliya Pinyuk

9.    Upon information and belief, on a date better known by Defendant, Defendant began to

      attempt to collect an alleged consumer debt from the Plaintiff.

10.   On or about August 11, 2017, Defendant sent the Plaintiff a collection letter.

11.   Said letter stated the “Principal” balance as $1,251.87, and then stated “Collection Fees:

      $225.33.”

12.   The Defendant’s statement in said letter of “Collection Fees” is a representation of an

      unlawful 18% collection fee.

13.   The collection fee represented the Defendant’s anticipated compensation for collecting

      the alleged debt.

14.   The Plaintiff was in the midst of a trial period with Verizon, and had timely canceled her

      account within two weeks of signing up. Therefore, the balance and collection fee are

      fraudulent.

15.   Even if such an agreement was legal, the Plaintiff did not owe any money to Verizon

      since, as mentioned, she had timely canceled, and the debt and collection cost were




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            erroneous and outright fraudulent. The Defendant is strictly liable.1

16.         Upon information and belief, any demanded of a collection fee was not incurred by either

            Verizon or the Defendant. The Plaintiff in this case canceled her contract prior to any

            incurred cost at all.

17.         The 18% collection fee was a contingent fee agreed to by the Defendant and the Creditor,

            i.e. the collection fee was a predetermined percentage of the total amount recovered for

            the Creditor.

18.         Only when the Defendant was successful in recovering all or part of the principal

            amount, was it entitled to its contingent fee.

19.         If the Defendant did not recover funds, it was not entitled to any fees.

20.         At the time the said letter was sent to the Plaintiff, no funds had been recovered by

            Defendant on behalf of the Creditor.

21.         Because nothing had been recovered, the Defendant was not entitled to its contingent

            compensation, and the Plaintiff was not liable for the collection fees.

22.         The collection fees bear no relation to, and are substantially greater than costs actually

            incurred by the Defendant or the Creditor, in their attempts to collect the alleged debts.

23.         Upon information and belief, Defendant transmits thousands of letters to consumers,

            similar to the said August 11, 2017 collection letter, which misrepresent the amount the

            consumer actually owes. In each instance, the Defendant charges the consumer with an

            illegal and unauthorized collection fee.

24.         This practice misleads consumers by creating the false impression that consumers have

            incurred a collection fee due and owing.

25.         The representation that collection fees were owed violated 15 U.S.C. §§ 1692e,
1
    See Lee v. Kucker & Bruh, LLP, 2013 U.S. Dist. LEXIS 110363, 2013 WL 3982427 (S.D.N.Y. Aug. 2, 2013).




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           1692e(2)(A), 1692e(5), 1692(f), and 1692f(1).2

26.        Said letter violated 15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(5), 1692(f), and 1692f(1) for

           attempting to collect prohibited collection fees.

27.        Plaintiff suffered injury in fact by being subjected to unfair and abusive practices of the

           Defendant.

28.        Plaintiff suffered actual harm by being the target of the Defendant's misleading debt

           collection communications.

29.        Defendant violated the Plaintiff's right not to be the target of misleading debt collection

           communications.

30.        Defendant violated the Plaintiff's right to a truthful and fair debt collection process.

31.        Defendant used materially false, deceptive, misleading representations and means in its

           attempted collection of Plaintiff's alleged debt.

32.        Defendant's communications were designed to cause the debtor to suffer a harmful

           disadvantage in charting a course of action in response to Defendant's collection efforts.

33.        The FDCPA ensures that consumers are fully and truthfully apprised of the facts and of

           their rights, the act enables them to understand, make informed decisions about, and

           participate fully and meaningfully in the debt collection process. The purpose of the

           FDCPA is to provide information that helps consumers to choose intelligently. The

           Defendant's false representations misled the Plaintiff in a manner that deprived her of her

           right to enjoy these benefits, these materially misleading statements trigger liability under

           section 1692e of the Act.

2
  Seeger v. AFNI, Inc., 2006 WL 2290763 (E.D. Wis. Aug. 9, 2006). (FDCPA case against AFNI, Inc. for adding a 15% fee to Cingular bills was
certified to proceed is a class action.), Seeger v. AFNI, Inc., 548 F.3d 1107 (7th Cir. 2008). (AFNI, Inc.’s demand for an additional 15%
collection fee violated § 1692f(1) since the charge was not authorized by law or the underlying contract; applicable state law only permitted such
a recovery if the amount was actually incurred as an out-of-pocket cost of collection and not, as attempted here, to unlawfully ‘‘permit[ ] a third-
party purchaser of an account to recover its internal costs.’’), Butto v. Collecto Inc., 2013 U.S. Dist. LEXIS 45502, 2013 WL 1285577 (E.D.N.Y.
Mar. 29, 2013). (Granting Class certification as to a letter which included a collection fee for Verizon service which had not yet been incurred at
the time the letter was sent.)




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34.   These deceptive communications additionally violated the FDCPA since they frustrate

      the consumer’s ability to intelligently choose his or her response.

35.   Plaintiff seeks to end these violations of the FDCPA. Plaintiff has suffered damages

      including but not limited to, fear, stress, mental anguish, emotional stress and acute

      embarrassment. Plaintiff and putative class members are entitled to preliminary and

      permanent injunctive relief, including, declaratory relief, and damages.

                                  CLASS ALLEGATIONS

36.   This action is brought as a class action. Plaintiff brings this action on behalf of herself

      and on behalf of all other persons similarly situated pursuant to Rule 23 of the Federal

      Rules of Civil Procedure.

37.   The identities of all class members are readily ascertainable from the records of

      Defendant CBE and those business and governmental entities on whose behalf it attempts

      to collect debts.

38.   Excluded from the Plaintiff's Class is the Defendant and all officers, members, partners,

      managers, directors, and employees of Defendant CBE, and all of their respective

      immediate families, and legal counsel for all parties to this action and all members of

      their immediate families.

39.   There are questions of law and fact common to the Plaintiff's Class, which common

      issues predominate over any issues involving only individual class members.            The

      principal issues are whether Defendant's communications with the Plaintiff, such as the

      above stated claims, violate provisions of the Fair Debt Collection Practices Act.

40.   The Plaintiff's claims are typical of the class members, as all are based upon the same

      facts and legal theories.




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41.   The Plaintiff will fairly and adequately protect the interests of the Plaintiff's Class defined

      in this complaint. The Plaintiff has retained counsel with experience in handling

      consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor

      her attorneys have any interests, which might cause them not to vigorously pursue this

      action.

42.   This action has been brought, and may properly be maintained, as a class action pursuant

      to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

      well-defined community interest in the litigation:

         (a)      Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

                  that the Plaintiff's Class defined above is so numerous that joinder of all

                  members would be impractical.

         (b)      Common Questions Predominate: Common questions of law and fact exist

                  as to all members of the Plaintiff's Class and those questions predominate

                  over any questions or issues involving only individual class members. The

                  principal issues are whether the Defendant's communications with the

                  Plaintiff, such as the above stated claims, violate provisions of the Fair Debt

                  Collection Practices Act.

         (c)      Typicality: The Plaintiff's claims are typical of the claims of the class

                  members. Plaintiff and all members of the Plaintiff's Class defined in this

                  complaint have claims arising out of the Defendant's common uniform

                  course of conduct complained of herein.

         (d)      Adequacy: The Plaintiff will fairly and adequately protect the interests of

                  the class members insofar as Plaintiff has no interests that are adverse to the




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                  absent class members. The Plaintiff is committed to vigorously litigating

                  this matter. Plaintiff has also retained counsel experienced in handling

                  consumer lawsuits, complex legal issues, and class actions. Neither the

                  Plaintiff nor her counsel have any interests, which might cause them not to

                  vigorously pursue the instant class action lawsuit.

         (e)      Superiority: A class action is superior to the other available means for the

                  fair and efficient adjudication of this controversy because individual

                  joinder of all members would be impracticable. Class action treatment

                  will permit a large number of similarly situated persons to prosecute their

                  common claims in a single forum efficiently and without unnecessary

                  duplication of effort and expense that individual actions would engender.

                  Certification of a class under Rule 23(b)(l)(A) of the Federal Rules of Civil

                  Procedure is appropriate because adjudications with respect to individual

                  members create a risk of inconsistent or varying adjudications which could

                  establish incompatible standards of conduct for Defendant who, on

                  information and belief, collects debts throughout the United States of

                  America.

43.   Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil Procedure is

      also appropriate in that a determination that the above stated claims, violate provisions of

      the Fair Debt Collection Practices Act, and is tantamount to declaratory relief and any

      monetary relief under the FDCPA would be merely incidental to that determination.

44.   Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is

      also appropriate in that the questions of law and fact common to members of the




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         Plaintiff's Class predominate over any questions affecting an individual member, and a

         class action is superior to other available methods for the fair and efficient adjudication of

         the controversy.

45.      Further, Defendant has acted, or failed to act, on grounds generally applicable to the Rule

         (b)(l)(A) and (b)(2) Class, thereby making appropriate final injunctive relief with respect

         to the Class as a whole.

46.      Depending on the outcome of further investigation and discovery, Plaintiff may, at the

         time of class certification motion, seek to certify one or more classes only as to particular

         issues pursuant to Fed. R. Civ. P. 23(c)(4).

                                       CAUSE OF ACTION

      Violations of the Fair Debt Collection Practices Act brought by Plaintiff on behalf of
                  herself and the members of a class, as against the Defendant.

47.      Plaintiff repeats, reiterates, and incorporates the allegations contained in paragraphs

         numbered one (1) through forty six (46) herein with the same force and effect is if the

         same were set forth at length herein.

48.      This cause of action is brought on behalf of Plaintiff and the members of a class.

49.      The class involves all individuals whom Defendant's records reflect resided in the State

         of New York and who were sent a collection letter in substantially the same form letter as

         the letter sent to the Plaintiff on or about August 11, 2017; and (a) the collection letter

         was sent to a consumer seeking payment of a personal debt; and (b) the collection letter

         was not returned by the postal service as undelivered; and (c) the Plaintiff asserts that the

         letter contained violations of 15 U.S.C. §§ 1692e, 1692e(2)(A), 1692e(5), 1692(f), and

         1692f(1) for attempting to collect prohibited collection fees.




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                           Violations of the Fair Debt Collection Practices Act

50.     The Defendant's actions as set forth above in the within complaint violates the Fair Debt

        Collection Practices Act.

51.     Because the Defendant violated the Fair Debt Collection Practices Act, the Plaintiff and

        the members of the class are entitled to damages in accordance with the Fair Debt

        Collection Practices Act.

WHEREFORE, Plaintiff, respectfully requests preliminary and permanent injunctive relief, and that this

Court enter judgment in Plaintiff's favor and against the Defendant and award damages as follows:

        (a)     Statutory damages provided under the FDCPA, 15 U.S.C. § 1692(k);

        (b)     Attorney fees, litigation expenses and costs incurred in bringing this action; and

        (c)     Any other relief that this Court deems appropriate and just under the

                circumstances.

Dated: Brooklyn, New York
       October 2, 2017
                                                   /s/ Maxim Maximov_____
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                                                 Attorneys for the Plaintiff
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Plaintiff requests trial by jury on all issues so triable.

                                                   /s/ Maxim Maximov_____
                                                  Maxim Maximov, Esq.




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